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                     EXHIBIT I
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                                                                  April 21,2008



                   VIA FACSIMILE AND OVERNIGHT MAIL

                   W.R. Grace & Co.
                   7500 Grace Drive
                   Columbia, Maryland 21044
                   Attn: Mark A. Shelnitz, General Counsel

                   David M. Bernick, Esq.
                   Janet S. BaeT, Esq.
                   Kirkland and Ells LLP
                   200 East Randolph Drive
                   Chicago, Ilinois 60601

                                       in re w'R. Grace & Co.. et al (the "Company" or the
                                    "Debtors "), Chapter 11 Cases (Bankr. Del. Case No. 01-1139)

                   Dear Madam and Gentlemen:

                                  This finn represents an ad hoc group of claimants (the "Ad Hoc Group")
                   who together hold approximately $440 milion of$500 milion in outstanding principal or
                   88%, of the loans and advances (the "Ban Loans") made under the Debtors' Pre-Petition
                   Bank Credit Facilties. i



                         The Pre-Petition Bank Credit Facilties include (i) that certain Credit Agreement, dated May
                         14, 1998, among the Company, The Chase Manhattan Bank, as Administrative Agent, Chase
                         Securities Inc., as arranger, and certin Banks pan thereio (the "1 998 Credit ARreement''),
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                        I am writing to express the Ad Hoc Group's objection to and extreme
    displeasure concerning the treatment of             the Ban Loans descrbed in the Debtors'
    proposed term sheet for their chapter I i plan of          reorganization anounced on
    April 7,2008 (the "April Term Sheet"). (A term sheet which we undertand was not
    vetted with the agent for the PreMPetition Ban Credit Facilties or the holders of claims
    of   the Pre-Petition Ban Credit Facilties ("Bank Facilty Claimants") or the Offcial
    Creditors Committee.)

                    The treatment of  the Bank Loans under the April Term Sheet renders any
    chapter i 1 plan based thereon unconfinnable. The April Term Sheet violates the absolute
    priority rule and section I 129 of the Banptcy Code because it provides that current
    equity wil retain their interests but the more senior priority Ban Facilty Claimants win
    not receive full payment of all amounts due under the Pre-Petition Bank Credit Facilties.
    Put simply, these are solvent debtors, and if equity proposes to retain ownership, the
    Company must pay the Ban Facilty Claimants the contrctual default interest rate of
    prime plus 2% compounding quaerly, plus facilty fees and other fees due thereunder
    and attorney fees and costs, in accordance with the terms set forth in the Pre-Petition
    Bank Credit Facilities ("Contrct Default Rate").

                        We note that the April Term Sheet is at odds with the clear trend with
    respect to these issues. Both ofthe Debtors' two sister-asbestos cases In re usa Com.
    (Bankr. DeL. Case No. 01-02094 (JKF) and In re Owens Corning, (Ban. Del, Case No.
    00-03837 (JKF)-in which equity retained all or a portion of their ownership of the
    reorganized debtors-confimied chapter 11 plans that provided payment to creditors in
    accordance with their contractual default intert rate. There is no reason that the W.R.
    Grace Ban Facilty Claimants should receive lesser treatment.

                   In the most recent circuit level case on ths issue, In re Dow Coming. the
    Sixth Circuit concluded that where a debtor is solvent, as is the Company, the
    presumption is that unsecured creditors are entitled to payment at the contractually
    provided default interest rate. In re Dow Corning, 45ó F.3d 668, 679-680 (6th Cir. 2006).
    No equitable factors or considerations exist in these chapter i 1 cases to warant a denial
    of payment to the Bank Facilty Claimants in accordance with their contracts. In fact, the

    equities strongly favor payment of   the full amounts due under the Pre-Petition Bank
    Credit Facilties. There is no justification for equity-merely through the occurrence of a
    bankptcy-to retain ownership of a company without being required to fully satisfy the
    obligations that the company entered into prior to the banptcy,

                   The treatment set forth in the April Ten Sheet has in no way been
    "agreed to" based on negotiations with respect to the earlier proposed plan of
    reorganization, dated January 13, 2005, Any contingent "agreement" that may have
    existed was made years ago with the Offcial Creditors Committee, under different
    circumstances, has long since expired, and in any event was neither made with nor is it


          and (ii) that certain 364-Day Credit Agreement. dated May 5, 1999, among the Company,
          Bank of America National Trust Savings Assoc., as documentation agent, The Chase
          Manhattan Bank, as administrative agent, Chase Securties Inc., as book manager, and cerain
          Banks party thereto (as amended, the "i 999 Credit Agreement").
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    binding upon, this group. We also note that no such plan was ever confirned or such
    agreement ever approved by the Bankruptcy Court.

                   We would be wiling to meet with the Company to draft language
    providing for appropriate treatment of the Ban Facilty Claimants that would provide the
    basis to support a chapter 11 plan.

                 The Ad Hoc Group reserves aU rights and remedies in connection with the
    April Term Sheet.



                                           /~
                                          Very truly yours,



                                          Andrew N. Rosenberg


    cc: Members of the Ad Hoc Group
           Lewis Krger, Esq.
           Kenneth Ziman, Esq.
